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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
DEMOCRATIC PARTY OF VIRGINIA,
Plaintiff,
v. Civil Case No. 3:21-cv-671
FRANK VEAL, in his official capacity as the
South Atlantic Division Manager for the
United States Postal Service, GERALD
ROANE, in his official capacity as Virginia
District Manager of the United States Postal

Service,

Defendants.

STIPULATION AND CONSENT ORDER
Plaintiff Democratic Party of Virginia and Defendants Frank Veal and Gerald Roane, in
their official capacities, (collectively, the “parties”) stipulate to the following and request that this
Court Order as follows: |
1. The parties request entry of this Stipulation and Consent Order for the purpose of
resolving their dispute and in pursuit of their joint interest in ensuring that if Virginia voters choose
to use the mail to vote, they are able to do so effectively. Nothing in this Stipulation and Consent
Order constitutes an admission by any party of liability or wrongdoing.
2. “Election Mail” as used in this Stipulation and Consent Order refers to mail that
uses USPS’s official Election Mail logo, as well as mail that comes in containers or trays with a
Green Tag 191 affixed to it. Election Mail includes, in addition to other materials, both absentee
ballots being sent by registrars to voters (“Outbound Ballots”) and absentee ballots being returned

by voters to registrars (“Inbound Ballots”).
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3. Continuing through Friday, November 5, 2021, the United States Postal Service
(“USPS” or “Postal Service”) shall process Election Mail within the Commonwealth of Virginia
in accordance with the Postal Service’s established procedures relating to Election Mail. In
particular, but without limitation, the Postal Service shall:

a Utilize procedures designed to ensure that each Inbound Ballot received by
USPS is postmarked and that each piece of Election Mail receives at least
an initial scan of its Intelligent Mail Barcode. This requirement shall not
preclude the Postal Service from taking measures intended to accelerate the
delivery of Inbound Ballots, which may cause them to be postmarked but
not receive a scan.

b. Ensure that all mail processing facilities and post offices in Virginia
continue to complete the daily “All Clear Certification Process,” in which
each facility certifies that it is clear of all Election Mail committed for
delivery that day. During the All Clear Certification Process, USPS
employees will sweep all locations in the facility, including manual
operations, carrier cases, clerk distribution cases, staging areas, dock(s), the
window area, all delivery vehicles, all processing areas, and all trailers for
Election Mail (as applicable for that facility), in an effort to ensure that there
are no ballots in any unexpected locations and to identify any ballots that
are not moving with sufficient speed.

c. Utilize the “Local Hold-Out Process” designed to expedite the delivery of

Inbound Ballots to local registrars, where operationally appropriate, after
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such ballots have been postmarked and have received an initial scan of their
Intelligent Mail Barcodes.

4. Beginning the day following the entry of this Order and continuing through
November 5, 2021, the Postal Service shall provide to Plaintiff and Plaintiffs counsel a daily
report by 12:00 pm each day containing the following information:

a Aconfirmation that the “all clear” process was carried out the previous day
at each mail processing facility and each retail and delivery facility in
Virginia;

b. Ifa facility does not report that they are “‘all clear”, the Postal Service will
provide the all clear report detailing any issue and will follow up if the
report warrants further action;

5. Plaintiff will work to obtain and share with the Postal Service the Intelligent Mail
Barcode Data for Inbound Ballots. Upon receipt of that data, the Postal Service will use reasonable
efforts to provide a daily report regarding transit times for Inbound Ballots, to the extent technically
feasible. If such a report is not feasible, the Postal Service will work in good faith to provide
alternative, technically feasible reporting providing visibility into the processing times for Inbound
Ballots.

6. The Postal Service shall continue to work with Plaintiff and the Virginia
Department of Elections urgently and in good faith to attempt to determine the reason that the
Virginia Department of Elections’ reports appear to identify a substantial number of “unscanned”
Outbound Ballots for Portsmouth City and Albemarle County. The Postal Service shall handle any
Outbound Ballots still in USPS’s possession consistent with its established procedures relating to

Election Mail, designed to ensure timely delivery.
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7. The Court holds Plaintiff's Motion in abeyance until Monday, November 8, 2021.
If there is a need for further intervention or attention by the Court before that date, either Party
may request a hearing through a filing on the Court’s docket. In no event shall either party request
such a hearing without providing notice to all counsel at least 6 hours in advance of any such
request. Following such notice, the parties shall meet and confer in good faith in an attempt to
reach a mutually agreeable resolution. The Court will accommodate the parties’ requests to be
heard as early as its schedule will permit. Further hearings in the case can be held either remotely
or in-person, at the Court’s discretion.

8. If no further hearings or relief has been requested as of Monday, November 8, 2021,

the Court will dismiss Plaintiff's Complaint without prejudice, at which time this Order shall be

of no further force or effect.
Dated: October 28, 2021

/s/
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Attorneys for Defendants

It is SO ORDERED.

 

Date: /O /Z ¥ /2021

Richmond, Virginia United States District Judge
